
The Couet refused to make the statement of facts, because they conceived the whole cause and record were completely out of their power by the writ of error.
CRanch, J.,
contra — because if a statement of facts now made, can avail the United State's, let them have the benefit of it, if not it can do no harm.
Mr. Mason, then prayed an appeal, and cited the Judiciary Act of 1789, § 22, [1 Stat. at Large, 84,] showing that a decree in equity could not be appealed from under that law, the only remedy being a writ of error; and the Act of 13th of February, 1801, § 33, [2 Stat. at Large, 98,] giving an appeal; and the Act of 3d of March, 1803, $ 2, [2 Stat. at Large, 244,] containing the same provision as that in the Act of 1801, excepting that the Act of 1803, expressly applies to decrees then already rendered.
Upon that appeal the cause was again carried up to the Supreme Court, where the decree was affirmed. (See United States v. Hooe et al. 3 Cranch, 73, 78.)
